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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



 ROADGET BUSINESS PTE. LTD., a private
 limited company organized in the country of
 Singapore,                                              Case No.: 1:24-cv-06964-ARW-JTG
                                                         The Honorable Andrea R. Wood
                                Plaintiff,
                                                         The Honorable Magistrate Jeffrey T. Gilbert
         vs.

 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE A TO THE COMPLAINT,

                                Defendants.


                                 CERTIFICATE OF SERVICE

       1.      On September 19, 2024, the Court authorized Roadget to “provide notice of the

proceedings in this case to Defendants . . . by sending an e-mail to any e-mail addresses provided

for Defendants by third parties.” Dkt. 19 at 6.

       2.      On October 1, 2024, counsel for Plaintiff Roadget Business Pte. Ltd. sent, via email,

Plaintiff’s Complaint, and the Court’s September 19, 2024 Temporary Restraining Order (Dkt. 19)

to the e-mail addresses provided for Defendants by third-party online marketplace platform Temu.

See Dkt. 25-3–25-22.

       3.      On October 4, 2024, counsel for Plaintiff Roadget Business Pte. Ltd. sent, via email,

notice that the Court’s Temporary Restraining Order (Dkt. 19) had been extended to October 17,

2024, and that telephonic status hearing was set for October 17, 2024 at 9:00 AM (Dkt. 24). See

Dkt. 25-3–25-22.

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       4.      On October 10, 2024, counsel for Plaintiff Roadget Business Pte. Ltd. sent, via

email, copies of its Motion for Entry of a Preliminary Injunction, as well as the Memorandum of

Law, Declaration, and Exhibits in support thereof, on Defendant Nos. 2, 3, 6, 7, 9, 10, 16 on

Schedule A to the e-mail addresses provided for Defendants by third-party online marketplace

platform Temu.

       5.      On October 11, 2024, counsel for Plaintiff Roadget Business Pte. Ltd. sent copies

of its Motion for Entry of a Preliminary Injunction, as well as the Memorandum of Law,

Declaration, and Exhibits in support thereof, to attorneys who represented to Plaintiff’s counsel

that they represent Defendant Nos. 1, 4, 5, 8, 11, 13, 14, 15, 19, and 20, and Defendant Nos. 12,

17, and 18, respectively, and are authorized to accept service on their behalf.




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October 16, 2024                        Respectfully submitted,

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                                           I.




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